Case 2:05-cr-00801-GHK Document 48 Filed 04/03/06 Page1of1 Page ID #:16

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CRIMINAL MINUTES - GENERAL ir
“ SEND
Case No.: CR 05-801-GHK Date April 3,2006 *"
Present: The Honorable: George H. King, United States District Judge
Interpreter; None
Wendy K. Hernandez John Turman Kevin Lally
Relief Deputy Clerk Court Reporter/Recorder, Tape Assistant U.S. Attomey
U.S.A. v. Defendant(s): Present Cust. Bond Attomeys for Defendants: Present App. Ret.
Leorn Dinkins, Jr. x x Darlene Ricker x Xx
Proceedings: Status Conference

Status Conference held and counsel are present. The Court confers with government counsel regarding Section 851 issues.
Outside the presence of government counsel, the Court discusses with defense counsel and defendant regarding
defendant’s concerns about counsel representation.

In the presence of government counsel, the Court hereby relieves Ms. Ricker as the defendant’s attorney, and continues
the matter to Monday, April 10, 2006, at 3:30 p.m. At that time, a panel attorney assigned for CJA duty schedule shall
be present and ready to be appointed as the defendant’s new counsel. Ms. Ricker shall also be present at the next hearing,
and ready to provide defendant’s file folder to new counsel.

 

   
 

Deputy Clerk wkh

 

ec: U.S. Probation Office
U.S. Pretrial Services Office
U.S. Marshal’s Office
Counsel

 

 

 

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CR-11 (09/98) “| CRIMINAL MINUTES - GENERAL Page | of 1

 
